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                          UNITED STATES DISTRICT COURT
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  8
                        CENTRAL DISTRICT OF CALIFORNIA

  9
       T.J. TRADING, INC.,                     CASE NO.: CV 21-2664-MWF (JPRx)
  10
                    Plaintiff,                 ORDER GRANTING JOINT
  11
                                               STIPULATION TO DISMISS
  12   vs.
  13   KERRY FREIGHT (USA)
  14   INCORPORATED; and DOES 1
       through 10, inclusive,
  15                                           Action Filed: March 29, 2021
                   Defendants.
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  18          Based on the stipulation of counsel and the records and files in this case, IT
  19 IS ORDERED that this case be dismissed with prejudice and with each party to bear

  20 its own attorney’s fees and costs.

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  22 DATED this 17th day of November, 2021.

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  24                                                 _____________________________
                                                     MICHAEL W. FITZGERALD
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                                                     United States District Judge
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